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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )             No. 4:11-CR-00030-02 - BSM
                                           )
MATTHEW CHRISTMAN                          )

                                           ORDER

       Pending before the Court is government's motion to dismiss Indictment against

Defendant Matthew Christman.

              IT IS SO ORDERED that the government's motion to dismiss Indictment (Doc

#51) against the above-named defendant be GRANTED, and the Indictment pending again

defendant Matthew Christman is dismissed without prejudice.

       Dated this 16th day of May, 2012.
